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Fill in this information to identify your case:

Debtor 1                  Jody D Lashley
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          WESTERN DISTRICT OF KENTUCKY

Case number           23-10735
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until             Wages, commissions,                      $443,055.72           Wages, commissions,
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business




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Debtor 1     Jody D Lashley                                                                            Case number (if known)   23-10735


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income           Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                                exclusions)                                                and exclusions)

For last calendar year:                           Wages, commissions,                         Unknown            Wages, commissions,
(January 1 to December 31, 2022 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


For the calendar year before that:                Wages, commissions,                      $275,453.00           Wages, commissions,
(January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


                                                  Wages, commissions,                         $5,815.00          Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


                                                  Wages, commissions,                       $32,565.00           Wages, commissions,
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income           Gross income
                                                Describe below.                 each source                    Describe below.             (before deductions
                                                                                (before deductions and                                     and exclusions)
                                                                                exclusions)
For the calendar year before that:              Unemployment                                  $3,312.00
(January 1 to December 31, 2021 )


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.

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Debtor 1     Jody D Lashley                                                                           Case number (if known)   23-10735



      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe
      Jeremy Kelly                                                                         $9,000.00                 $0.00       Mortgage
                                                                                                                                 Car
                                                                                                                                 Credit Card
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


      Multiple MCA Lenders                                                                 Unknown              Unknown          Mortgage
                                                                                                                                 Car
                                                                                                                                 Credit Card
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                         Status of the case
      Case number
      Alliance Funding Group v. Jody                      Collection                   Edmonson County Circuit                    Pending
      Lashley dba Poor Boys Outdoor                                                    Court                                      On appeal
      Lawn Care
                                                                                                                                  Concluded
      23-CI-00023

      Capytal.com v. Jody Lashley d/b/a                   Collection                   Supreme Court of New                       Pending
      Poor Boy Outdoors Lawn Care; Po                                                  York, Washington Co                        On appeal
      Boy's General Store and Bait Shop                                                                                           Concluded
      LLC; Po' Boy Airboat Tour's LLC;
      Po' Boy's General Store & Bait
      Shop; and Jody Darron Lashley
      EC2022-34657


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Debtor 1     Jody D Lashley                                                                              Case number (if known)    23-10735


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                     Value of the
                                                                                                                                                        property
                                                             Explain what happened
      Alliance Funding Group                                 Bank account                                                   September                   $344.72
      17542 17th Street, Suite 200                                                                                          2023
      Tustin, CA 92780                                           Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was              Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                      Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
      how the loss occurred                                                                                                 loss                             lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.
      Six (6) chainsaws                                                                                                                               Unknown




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Debtor 1     Jody D Lashley                                                                      Case number (if known)    23-10735


      Describe the property you lost and         Describe any insurance coverage for the loss                       Date of your        Value of property
      how the loss occurred                                                                                         loss                             lost
                                                 Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.
      2004 jet ski                                                                                                  June 2023                 Unknown



Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment              Amount of
      Address                                              transferred                                              or transfer was            payment
      Email or website address                                                                                      made
      Person Who Made the Payment, if Not You
      Darren Mexic                                         Consultation fee                                         ~August 2023                $150.00
      1797 Creason St. #1
      Bowling Green, KY 42101
      darrenmexiclaw.com


      Kaplan Johnson Abate & Bird LLP                      Retainer and filing fee                                  09/20/2023                $9,238.00
      710 West Main Street
      Fourth Floor
      Louisville, KY 40202
      kaplanjohnsonlaw.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                  Description and value of any property                    Date payment              Amount of
      Address                                              transferred                                              or transfer was            payment
                                                                                                                    made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                         Description and value of                   Describe any property or         Date transfer was
      Address                                              property transferred                       payments received or debts       made
                                                                                                      paid in exchange
      Person's relationship to you
      Tom Warner                                           Pontoon boat                               Contract for 22800 Clifty
      230 Paradise Dr                                                                                 Shores, Dawson
      Murray, KY 42071                                                                                Springs, KY




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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Debtor 1      Jody D Lashley                                                                              Case number (if known)   23-10735


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred
      Peoples Bank                                           XXXX-4142                          Checking              09/05/2023                         $181.10
                                                                                                Savings
                                                                                                Money Market
                                                                                                Brokerage
                                                                                                Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                               have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents                 Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                       have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

      Storage Unit                                                                                        Misc. household goods and                No
      Leitchfield, KY 42754                                                                               furnishings worth approx.                Yes
                                                                                                          $5,000


Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                            Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1     Jody D Lashley                                                                                   Case number (if known)   23-10735


Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                   Court or agency                            Nature of the case                   Status of the
      Case Number                                                  Name                                                                            case
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                          Describe the nature of the business                   Employer Identification number
      Address                                                                                                      Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                   Dates business existed
      Poor Boys Outdoor Lawn Care                                                                                  EIN:       XX-XXXXXXX
      1091 Moutardier Road
      Leitchfield, KY 42754                                                                                        From-To




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
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Debtor 1      Jody D Lashley                                                                              Case number (if known)   23-10735


       Business Name                                          Describe the nature of the business               Employer Identification number
       Address                                                                                                  Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                Dates business existed
       Jody Lashley's Custom Docks &                                                                            EIN:         XX-XXXXXXX
       Boat Lifts
       1091 Moutardier Road                                                                                     From-To
       Leitchfield, KY 42754


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                   Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Jody D Lashley
Jody D Lashley                                                          Signature of Debtor 2
Signature of Debtor 1

Date      November 7, 2023                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
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Fill in this information to identify your case and this filing:

Debtor 1                    Jody D Lashley
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      WESTERN DISTRICT OF KENTUCKY

Case number            23-10735                                                                                                                                   Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       1091 Moutardier Road                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the         Current value of the
       Leitchfield                       KY        42754-0000                         Land                                       entire property?             portion you own?
       City                              State              ZIP Code                  Investment property                               $320,000.00                  $320,000.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Fee simple
       Edmonson                                                                       Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               ~7 acre parcel with personal residence




Official Form 106A/B                                                                 Schedule A/B: Property                                                                   page 1
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                                                                                  70
Debtor 1        Jody D Lashley                                                                                         Case number (if known)          23-10735

      If you own or have more than one, list here:
1.2                                                                   What is the property? Check all that apply
      1091 Moutardier Road                                                   Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
      Leitchfield                       KY        42754-0000                 Land                                            entire property?              portion you own?
      City                              State              ZIP Code          Investment property                                    $200,000.00                     $200,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other     Storefront                            (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Fee simple
      Edmonson                                                               Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      ~1.1 acres with boat storage and wood shop


      If you own or have more than one, list here:
1.3                                                                   What is the property? Check all that apply
      22800 Clifty Shores Rd                                                 Single-family home                              Do not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                             Duplex or multi-unit building
                                                                                                                             Creditors Who Have Claims Secured by Property.
                                                                             Condominium or cooperative

                                                                             Manufactured or mobile home
                                                                                                                             Current value of the          Current value of the
      Dawson Springs                    KY        42408-0000                 Land                                            entire property?              portion you own?
      City                              State              ZIP Code          Investment property                                    $175,000.00                     $175,000.00
                                                                             Timeshare
                                                                                                                             Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                      Who has an interest in the property? Check one         a life estate), if known.
                                                                             Debtor 1 only                                   Equitable interest
      Christian                                                              Debtor 2 only
      County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                  Check if this is community property
                                                                             At least one of the debtors and another              (see instructions)
                                                                      Other information you wish to add about this item, such as local
                                                                      property identification number:
                                                                      Lakehouse on 2 lots near Pennyrile Forest


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                        $695,000.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                     Schedule A/B: Property                                                                            page 2
              Case 23-10735-jal          Doc 23        Filed 11/07/23              Entered 11/07/23 23:28:07                     Page 11 of
                                                                   70
Debtor 1         Jody D Lashley                                                                    Case number (if known)    23-10735
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Ford                          Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     F250 XL                          Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      2012                             Debtor 2 only                                        Current value of the     Current value of the
         Approximate mileage:                        Debtor 1 and Debtor 2 only                           entire property?         portion you own?
         Other information:                          At least one of the debtors and another
         VIN: 1FT7X2B62CEA70839
                                                     Check if this is community property                         $12,000.00                  $12,000.00
                                                     (see instructions)



  3.2    Make:      Ford                          Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     F150                             Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      1997                             Debtor 2 only                                        Current value of the     Current value of the
         Approximate mileage:                        Debtor 1 and Debtor 2 only                           entire property?         portion you own?
         Other information:                          At least one of the debtors and another
         VIN: 1FTDX18W3VND33444
                                                     Check if this is community property                           $8,750.00                  $8,750.00
                                                     (see instructions)



  3.3    Make:      Ford                          Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     F350 Service Truck               Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      1997                             Debtor 2 only                                        Current value of the     Current value of the
         Approximate mileage:                        Debtor 1 and Debtor 2 only                           entire property?         portion you own?
         Other information:                          At least one of the debtors and another
         VIN: 3FEHF35H9VMA41689
                                                     Check if this is community property                           $8,750.00                  $8,750.00
                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:      Sea Doo                       Who has an interest in the property? Check one
                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     Spark                            Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      2020                             Debtor 2 only                                        Current value of the     Current value of the
                                                     Debtor 1 and Debtor 2 only                           entire property?         portion you own?
         Other information:                          At least one of the debtors and another
                                                     Check if this is community property                         $7,000.00                    $7,000.00
         S/N: YDV60582C020                           (see instructions)


  4.2    Make:      Club                          Who has an interest in the property? Check one
                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                                                          the amount of any secured claims on Schedule D:
         Model:     Yacht Trailer                    Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
         Year:      2020                             Debtor 2 only                                        Current value of the     Current value of the
                                                     Debtor 1 and Debtor 2 only                           entire property?         portion you own?
         Other information:                          At least one of the debtors and another
                                                     Check if this is community property                            $500.00                      $500.00
         S/N: KY 4H1000131XL0553800                  (see instructions)




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                                                            70
Debtor 1        Jody D Lashley                                                              Case number (if known)    23-10735
  4.3   Make:      TCZ                     Who has an interest in the property? Check one
                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                                                   the amount of any secured claims on Schedule D:
        Model:     VS Air Boat                 Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2002                        Debtor 2 only                                       Current value of the     Current value of the
                                               Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                     At least one of the debtors and another
                                               Check if this is community property                        $5,000.00                    $5,000.00
        S/N: TCZ16507D202                      (see instructions)


  4.4   Make:      WINN                    Who has an interest in the property? Check one
                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                                                   the amount of any secured claims on Schedule D:
        Model:     20' Boat Trailer            Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1990                        Debtor 2 only                                       Current value of the     Current value of the
                                               Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                     At least one of the debtors and another
                                               Check if this is community property                           $500.00                      $500.00
        S/N: KY 42KBBBR11L1015054              (see instructions)


  4.5   Make:      Sea Doo                 Who has an interest in the property? Check one
                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                                                   the amount of any secured claims on Schedule D:
        Model:     Sportster                   Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2006                        Debtor 2 only                                       Current value of the     Current value of the
                                               Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                     At least one of the debtors and another
                                               Check if this is community property                        $8,500.00                    $8,500.00
        S/N: KY CEC12594I506                   (see instructions)


  4.6   Make:      EZLD                    Who has an interest in the property? Check one
                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                                                   the amount of any secured claims on Schedule D:
        Model:     96BT                        Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2020                        Debtor 2 only                                       Current value of the     Current value of the
                                               Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                     At least one of the debtors and another
                                               Check if this is community property                           $500.00                      $500.00
        S/N: KY 1ZETAHMD2LA005217              (see instructions)


  4.7   Make:      Yamaha                  Who has an interest in the property? Check one
                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                                                   the amount of any secured claims on Schedule D:
        Model:     XL700                       Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2000                        Debtor 2 only                                       Current value of the     Current value of the
                                               Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                     At least one of the debtors and another
                                               Check if this is community property                        $2,000.00                    $2,000.00
        S/N: KY YAMA1015G900                   (see instructions)


  4.8   Make:      MFI                     Who has an interest in the property? Check one
                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                                                   the amount of any secured claims on Schedule D:
        Model:     PWC-2 Trailer               Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2000                        Debtor 2 only                                       Current value of the     Current value of the
                                               Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                     At least one of the debtors and another
                                               Check if this is community property                           $500.00                      $500.00
        S/N: KY 4J2AJAH12Y1067422              (see instructions)


  4.9   Make:      SURE                    Who has an interest in the property? Check one
                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                                                   the amount of any secured claims on Schedule D:
        Model:     Dump Trailer                Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2018                        Debtor 2 only                                       Current value of the     Current value of the
                                               Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                     At least one of the debtors and another
                                               Check if this is community property                        $8,000.00                    $8,000.00
        S/N: KY 5JW1D142XJ4229395              (see instructions)




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Debtor 1        Jody D Lashley                                                                Case number (if known)    23-10735
  4.1
  0     Make:      Smoker Craft              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                   1866 Pro Sportsman                                                                the amount of any secured claims on Schedule D:
        Model:     Boat                          Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2018                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                       $13,500.00                   $13,500.00
        S/N: KY SMK62412B818                     (see instructions)


  4.1
  1     Make:      Yamaha                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     T50LB                         Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2003                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $2,400.00                    $2,400.00
        Serial #6C2L1031766                      (see instructions)


  4.1
  2     Make:      Big Tex                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     Flatbed 14TL                  Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2019                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $7,500.00                    $7,500.00
        S/N: KY 16VEX202XK2067960                (see instructions)


  4.1
  3     Make:      Sun Tracker               Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     PB21 Pontoon                  Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2010                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                       $12,000.00                   $12,000.00
        S/N: KY BUJ23579F010                     (see instructions)


  4.1
  4     Make:      Trailstar                 Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     P21PB21                       Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2010                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $1,000.00                    $1,000.00
        S/N: KY 4TM13RJ13AB001039                (see instructions)


  4.1
  5     Make:      Mercury                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     115ELPTO                      Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2000                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $2,200.00                    $2,200.00
        Serial #0T053431                         (see instructions)


  4.1
  6     Make:      Ranger                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     380 Chief Boat                Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1987                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $5,000.00                    $5,000.00
        S/N RNG02041B787                         (see instructions)



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Debtor 1        Jody D Lashley                                                                Case number (if known)    23-10735
  4.1
  7     Make:      Wood Mfg. Co.             Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     Trailer                       Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1987                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                           $750.00                      $750.00
        S/N: KY 18WRT202XH1D21988                (see instructions)


  4.1
  8     Make:      Yamaha                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     200 VMax                      Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1999                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $2,000.00                    $2,000.00
        Serial #VYMXM3131CC                      (see instructions)


  4.1
  9     Make:      Smoker Craft              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                   1866 Pro Sportsman                                                                the amount of any secured claims on Schedule D:
        Model:     Boat                          Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2017                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                       $12,500.00                   $12,500.00
        S/N: KY SMK58969I617                     (see instructions)


  4.2
  0     Make:      Mercury                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     40ELPTO                       Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1995                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                           $700.00                      $700.00
        Serial #0G117164P                        (see instructions)


  4.2
  1     Make:      Optimist                  Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     Pontoon                       Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2006                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $4,000.00                    $4,000.00
        S/N: VCP14118F606                        (see instructions)


  4.2
  2     Make:      KARA                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     BTRAIL Trailer                Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2006                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                           $750.00                      $750.00
        S/N: KY 5KTBS171X6F197590                (see instructions)


  4.2
  3     Make:      Mercury                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                     the amount of any secured claims on Schedule D:
        Model:     60ELPT EFI                    Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2006                          Debtor 2 only                                       Current value of the     Current value of the
                                                 Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                       At least one of the debtors and another
                                                 Check if this is community property                        $3,300.00                    $3,300.00
        Serial #1C020881                         (see instructions)



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Debtor 1        Jody D Lashley                                                          Case number (if known)    23-10735
  4.2
  4     Make:      Crest               Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                               the amount of any secured claims on Schedule D:
        Model:     22 Pontoon              Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1998                    Debtor 2 only                                       Current value of the     Current value of the
                                           Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                 At least one of the debtors and another
                                           Check if this is community property                        $5,000.00                    $5,000.00
        S/N: MAU01833C898                  (see instructions)


  4.2
  5     Make:      Moonshine           Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                               the amount of any secured claims on Schedule D:
        Model:     Trailer                 Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1998                    Debtor 2 only                                       Current value of the     Current value of the
                                           Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                 At least one of the debtors and another
                                           Check if this is community property                           $750.00                      $750.00
        S/N: 4RPBP2212VC004792             (see instructions)


  4.2
  6     Make:      Yamaha              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                               the amount of any secured claims on Schedule D:
        Model:     C60 TLRW                Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1998                    Debtor 2 only                                       Current value of the     Current value of the
                                           Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                 At least one of the debtors and another
                                           Check if this is community property                        $2,200.00                    $2,200.00
        Seriall #6H2L356112                (see instructions)


  4.2
  7     Make:      Big Tex             Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                               the amount of any secured claims on Schedule D:
        Model:     14ET Trailer            Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2019                    Debtor 2 only                                       Current value of the     Current value of the
                                           Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                 At least one of the debtors and another
                                           Check if this is community property                        $7,500.00                    $7,500.00
        S/N: KY 16VEX2029L2025913          (see instructions)


  4.2
  8     Make:      Knight              Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                               the amount of any secured claims on Schedule D:
        Model:     Boat Trailer            Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2000                    Debtor 2 only                                       Current value of the     Current value of the
                                           Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                 At least one of the debtors and another
                                           Check if this is community property                           $500.00                      $500.00
        S/N: KY 4APHT1218Y1000013          (see instructions)


  4.2
  9     Make:      Custom Built        Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                               the amount of any secured claims on Schedule D:
        Model:     Boat Trailer            Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      1991                    Debtor 2 only                                       Current value of the     Current value of the
                                           Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                 At least one of the debtors and another
                                           Check if this is community property                           $500.00                      $500.00
        S/N: KY CUSTBLTRLTL000941          (see instructions)


  4.3
  0     Make:      Mercury             Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                               the amount of any secured claims on Schedule D:
        Model:     90ELPT                  Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
        Year:      2013                    Debtor 2 only                                       Current value of the     Current value of the
                                           Debtor 1 and Debtor 2 only                          entire property?         portion you own?
        Other information:                 At least one of the debtors and another
                                           Check if this is community property                        $6,700.00                    $6,700.00
        SN: 2B048769                       (see instructions)




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Debtor 1         Jody D Lashley                                                                                    Case number (if known)       23-10735
  4.3
  1      Make:      Yamaha                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     T50LB                                       Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2018                                        Debtor 2 only                                                Current value of the     Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                  $6,400.00                   $6,400.00
         Serial #6C2L1031766                                     (see instructions)


  4.3
  2      Make:      Monster                                  Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Custom Boat                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2017                                        Debtor 2 only                                                Current value of the     Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                 $40,000.00                  $40,000.00
         Airboat MCS00013B717                                    (see instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>               $199,150.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Household goods and furnishings in use and in storage                                                                         $20,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                   Consumer electronics                                                                                                           $2,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                   Sports and hobby equipment                                                                                                     $4,000.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

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Debtor 1        Jody D Lashley                                                                                                       Case number (if known)   23-10735


                                          Bows and guns: Stevens 320 12ga; Savage 110 7mag; Mossberg
                                          308; Mossberg 6.5 Creedmoor; Savage 10 6.5 Creedmoor; Browing
                                          a5 12ga; Ria import 12ga; Calico m-100 .22; Centerpoint crossbow
                                          cp400; Bowteck Admiral FLX; Rugar .22; Radical arm AR7.6x39                                                                        $5,000.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          Clothing                                                                                                                            $150.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                          Dogs                                                                                                                                $500.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                                    $31,650.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                     Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                        Cash on hand                          $600.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                Bank of Clarkson
                                            17.1.       Checking                                xx3458                                                                       $7,896.42


                                                                                                Limestone Bank
                                            17.2.       Checking                                xx4142                                                                         $41.99



Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 9
           Case 23-10735-jal                        Doc 23         Filed 11/07/23                 Entered 11/07/23 23:28:07                Page 18 of
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Debtor 1        Jody D Lashley                                                                                  Case number (if known)   23-10735

                                                                              Morgantown Bank
                                        17.3.    Checking                     xx1401                                                                     $562.97


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                 % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.




Official Form 106A/B                                                   Schedule A/B: Property                                                              page 10
            Case 23-10735-jal                         Doc 23              Filed 11/07/23                   Entered 11/07/23 23:28:07                            Page 19 of
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Debtor 1        Jody D Lashley                                                                                                  Case number (if known)        23-10735
28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
       Yes. Give specific information..

                                                         Loan to Tyler Mulenhour - $1,400                                                                                   Unknown


                                                         Loan to Tucker Dockery - $2,500                                                                                    Unknown


                                                         Loan to William Thompson - $10,000                                                                                 Unknown


                                                         Loan to Derick Herald - $4,000                                                                                     Unknown


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $9,101.38


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.

Official Form 106A/B                                                          Schedule A/B: Property                                                                             page 11
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Debtor 1        Jody D Lashley                                                                                                  Case number (if known)        23-10735

      Yes. Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
       Yes. Describe.....


                                       Docktech A/R ~$50,000                                                                                                                Unknown


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
       Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
       Yes. Describe.....


                                       Tools                                                                                                                                $3,000.00


41. Inventory
       No
       Yes. Describe.....


42. Interests in partnerships or joint ventures
       No
       Yes. Give specific information about them...................
                                  Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                 No
                 Yes. Describe.....


44. Any business-related property you did not already list
       No
       Yes. Give specific information.........



45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here.....................................................................................................................              $3,000.00

Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.

          Yes. Go to line 47.

Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 12
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                                                                                      70
Debtor 1         Jody D Lashley                                                                                                  Case number (if known)        23-10735
                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
      No
       Yes................


                                     11 turkeys; 3 chickens                                                                                                                   $1,000.00


48. Crops—either growing or harvested
       No
       Yes. Give specific information.....


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
       Yes................


                                     2021 Express Steel 72' Extreme Brush Cutter
                                     S/N: KY #1400290                                                                                                                         $6,800.00


                                     Fishing equipment                                                                                                                        $4,000.00


50. Farm and fishing supplies, chemicals, and feed
       No
       Yes................

51. Any farm- and commercial fishing-related property you did not already list
       No
       Yes. Give specific information.....



52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here .....................................................................................................................              $11,800.00


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 13
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                                                                                         70
Debtor 1         Jody D Lashley                                                                                                        Case number (if known)   23-10735

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                 $695,000.00
56. Part 2: Total vehicles, line 5                                                                         $199,150.00
57. Part 3: Total personal and household items, line 15                                                     $31,650.00
58. Part 4: Total financial assets, line 36                                                                  $9,101.38
59. Part 5: Total business-related property, line 45                                                         $3,000.00
60. Part 6: Total farm- and fishing-related property, line 52                                               $11,800.00
61. Part 7: Total other property not listed, line 54                                             +               $0.00

62. Total personal property. Add lines 56 through 61...                                                    $254,701.38               Copy personal property total            $254,701.38

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $949,701.38




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 14
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                                                                         70
Fill in this information to identify your case:

Debtor 1                Jody D Lashley
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        WESTERN DISTRICT OF KENTUCKY

Case number           23-10735
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     Household goods and furnishings in                       $20,000.00                               $14,875.00      11 U.S.C. § 522(d)(3)
     use and in storage
     Line from Schedule A/B: 6.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Consumer electronics                                      $2,000.00                                 $2,000.00     11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 7.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Sports and hobby equipment                                $4,000.00                                 $4,000.00     11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 9.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Bows and guns: Stevens 320 12ga;                          $5,000.00                                 $5,000.00     11 U.S.C. § 522(d)(5)
     Savage 110 7mag; Mossberg 308;
     Mossberg 6.5 Creedmoor; Savage 10                                             100% of fair market value, up to
     6.5 Creedmoor; Browing a5 12ga; Ria                                           any applicable statutory limit
     import 12ga; Calico m-100 .22;
     Centerpoint crossbow cp400;
     Bowteck Admiral FLX; Rugar .22;
     Radical arm AR7.6x39
     Line from Schedule A/B: 10.1




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    Jody D Lashley                                                                     Case number (if known)     23-10735
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Tools                                                   $3,000.00                                  $2,800.00        11 U.S.C. § 522(d)(6)
    Line from Schedule A/B: 40.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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                                                                                70
Fill in this information to identify your case:

Debtor 1                   Jody D Lashley
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             WESTERN DISTRICT OF KENTUCKY

Case number           23-10735
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     Alliance Funding Group                   Describe the property that secures the claim:                 $66,967.61                Unknown              Unknown
        Creditor's Name                          All assets

        17542 17th Street, Suite
                                                 As of the date you file, the claim is: Check all that
        200                                      apply.
        Tustin, CA 92780                             Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred          01/11/2023                Last 4 digits of account number        6441




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 11
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Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


2.2     Ally Financial                             Describe the property that secures the claim:                    $62,643.21           Unknown     Unknown
        Creditor's Name                            2021 Dodge Ram 2500

                                                   As of the date you file, the claim is: Check all that
        P.O. Box 380902                            apply.
        Minneapolis, MN 55438                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number


2.3     Azura Leasing                              Describe the property that secures the claim:                      Unknown                $0.00   Unknown
        Creditor's Name                            Clover Flex K040UT3250812

                                                   As of the date you file, the claim is: Check all that
        PO Box 258                                 apply.
        Caledonia, MI 49316                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Finance Lease
      community debt

Date debt was incurred          09/08/2022                  Last 4 digits of account number         0884

2.4     Family Business Fund                       Describe the property that secures the claim:                    $40,000.00           Unknown     Unknown
        Creditor's Name                            All assets

                                                   As of the date you file, the claim is: Check all that
        101 Plaza Real S, Ste 216                  apply.
        Boca Raton, FL 33432                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          10/03/2022                  Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 11
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Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


2.5     Farm Bureau Bank                           Describe the property that secures the claim:                    $48,740.79          $40,000.00   $8,740.79
        Creditor's Name                            2017 Monster Custom Boat
                                                   Airboat MCS00013B717
                                                   As of the date you file, the claim is: Check all that
        PO Box 33427                               apply.
        San Antonio, TX 78265                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          05/24/2019                  Last 4 digits of account number         7279

2.6     GoodLeap                                   Describe the property that secures the claim:                    $91,426.85           Unknown     Unknown
        Creditor's Name                            Photovoltaic Solar Energy
                                                   Equipment or Energy
                                                   Storage/Battery Equipment
                                                   As of the date you file, the claim is: Check all that
        8781 Sierra College Blvd                   apply.
        Roseville, CA 95661                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          02/05/2022                  Last 4 digits of account number         0313

2.7     JCB Finance                                Describe the property that secures the claim:                      $6,837.38          Unknown     Unknown
        Creditor's Name                            Backhoe Loader

        655 Business Center
                                                   As of the date you file, the claim is: Check all that
        Drive                                      apply.
        Horsham, PA 19044                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          03/31/2021                  Last 4 digits of account number         4297




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 11
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Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


        Kubota Credit
2.8                                                                                                                     $582.73          Unknown     Unknown
        Corporation, USA                           Describe the property that secures the claim:
        Creditor's Name                            KUBOTA B2401DT
                                                   KBUB7ADRJMTK11826 4WD GEAR
                                                   SHIFT TRACTOR;KUBOTA LA435
                                                   C0272 FRT LDR WGRILL
                                                   GUARDB-01 SER;LAND PRIDE
                                                   AP-DZ3084 1107693K 6-WAY
                                                   DOZER BLADE, 84";LAND PRIDE
                                                   AP-SA35 1108613K 35 SERIES HYD
                                                   AUGER PLANETARY;LAND PRIDE
        Servicing Center                           AP-SG2572 1117
                                                   As of the date you file, the claim is: Check all that
        PO Box 2046                                apply.
        Grapevine, TX 76099                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          04/28/2022                  Last 4 digits of account number         0107

2.9     Marin Business Bank                        Describe the property that secures the claim:                      Unknown            Unknown     Unknown
        Creditor's Name                            2018 Sure-Trac Dump Trailer
                                                   VIN: 5JW1D142XJ4229395
        2795 E. Cottonwood
                                                   As of the date you file, the claim is: Check all that
        Pkwy                                       apply.
        Salt Lake City, UT 84121                        Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          05/03/2018                  Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 11
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Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


2.1     Marlin Leasing
0       Corporation                                Describe the property that secures the claim:                      $3,867.60          Unknown     Unknown
        Creditor's Name                            2018 John Deere Gator
                                                   VIN: 1M0835RAAJM013223
        dba PEAC Solutions
                                                   As of the date you file, the claim is: Check all that
        300 Fellowship Road                        apply.
        Mount Laurel, NJ 08054                          Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          05/10/2023                  Last 4 digits of account number         9298

2.1
1       MCA Servicing, LLC                         Describe the property that secures the claim:                      Unknown            Unknown     Unknown
        Creditor's Name                            All accounts

                                                   As of the date you file, the claim is: Check all that
        1855 Griffin Raod                          apply.
        Dania, FL 33004                                 Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          05/18/2022                  Last 4 digits of account number


2.1
2       On Deck Capital, Inc.                      Describe the property that secures the claim:                    $78,634.80           Unknown     Unknown
        Creditor's Name                            All assets

        4201 Wilson Blvd
                                                   As of the date you file, the claim is: Check all that
        Ste 110-209                                apply.
        Arlington, VA 22203                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          03/24/2022                  Last 4 digits of account number         7265



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                                                                                   70
Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


2.1     Pawnee Leasing
3       Corporation                                Describe the property that secures the claim:                        $485.10              $0.00     $485.10
        Creditor's Name                            Equipment subject to finance-lease

        3801 Automation Way
                                                   As of the date you file, the claim is: Check all that
        Suite 207                                  apply.
        Fort Collins, CO 80526                          Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          07/29/2020                  Last 4 digits of account number         6042

2.1
4       Rapid Finance                              Describe the property that secures the claim:                   $105,000.00           Unknown     Unknown
        Creditor's Name                            All assets

        4500 East West Highway
                                                   As of the date you file, the claim is: Check all that
        6th Floor                                  apply.
        Bethesda, MD 20814                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          03/29/2022                  Last 4 digits of account number


2.1
5       Rent to Own Rentals LLC                    Describe the property that secures the claim:                      Unknown            Unknown     Unknown
        Creditor's Name                            Chicken Coop 8x16
                                                   PCC-2642-WHM-DG-WH-0816-09212
                                                   2B
                                                   As of the date you file, the claim is: Check all that
        PO Box 156                                 apply.
        Morganfield, KY 42437                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          09/21/2022                  Last 4 digits of account number




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Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


2.1
6       ScottsRTO, LLC                             Describe the property that secures the claim:                      $6,199.20          Unknown     Unknown
        Creditor's Name                            Leatherwood High Barn 14x30
                                                   Ser: KKBLW14X30
                                                   As of the date you file, the claim is: Check all that
        PO Box 100                                 apply.
        Melber, KY 42069                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          09/21/2022                  Last 4 digits of account number


2.1
7       Servicing Corporation                      Describe the property that secures the claim:                   $253,347.73           Unknown     Unknown
        Creditor's Name                            1091 Moutadier Road
                                                   Leitchfield, KY 42754
                                                   As of the date you file, the claim is: Check all that
        323 5th Street                             apply.
        Eureka, CA 95501                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number         9087

2.1
8       Theresa Stiles                             Describe the property that secures the claim:                      Unknown            Unknown     Unknown
        Creditor's Name                            General store and acreage at 1091
                                                   Moutardier Road
                                                   As of the date you file, the claim is: Check all that
        720 30th St.                               apply.
        Peru, IL 61354                                  Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number




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Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


2.1     United Community Bank
9       of West Kentucky                           Describe the property that secures the claim:                    $66,058.84           Unknown     Unknown
        Creditor's Name                            '03 Yamaha T50LB; '00 Mercury
                                                   115ELPT0; '99 Yamaha 200 VMAX;
                                                   '95 Mercury 40ELPT0; '06 Mercury
                                                   60ELPT EFI ; '98 Yamaha C60
                                                   TLRW; '21 Express Steel 72' Brush
                                                   Cutter; '13 Mercury 90ELPT; '18
                                                   Yamaha T50LB
                                                   As of the date you file, the claim is: Check all that
        1406 N Main St                             apply.
        Sturgis, KY 42459                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          03/21/2023                  Last 4 digits of account number         0223

2.2     United Community Bank
0       of West Kentucky                           Describe the property that secures the claim:                      Unknown            Unknown     Unknown
        Creditor's Name                            2000 MFI PWC-2 Trailer; 1987 Wood
                                                   Mfg. Co. Trailer; and 2019 Big Tex
                                                   14ET Trailer
                                                   As of the date you file, the claim is: Check all that
        131 E Main St                              apply.
        Morganfield, KY 42437                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          09/14/2023                  Last 4 digits of account number




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Debtor 1 Jody D Lashley                                                                                      Case number (if known)   23-10735
              First Name                  Middle Name                      Last Name


2.2     United Community Bank
1       of West Kentucky                           Describe the property that secures the claim:                    $66,058.84           $7,000.00   $59,058.84
        Creditor's Name                            Multiple vehicles, boats, trailers,
                                                   and accessories
                                                   As of the date you file, the claim is: Check all that
        1406 N Main St                             apply.
        Sturgis, KY 42459                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred                                      Last 4 digits of account number


2.2     US Small Business
2       Administration                             Describe the property that secures the claim:                    $32,600.00           Unknown     Unknown
        Creditor's Name                            All tangible and intangible personal
                                                   property
                                                   As of the date you file, the claim is: Check all that
        2 North Street, Suite 320                  apply.
        Birmingham, AL 35203                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          07/03/2020                  Last 4 digits of account number         7901

2.2
3       Tom Warner                                 Describe the property that secures the claim:                      $6,000.00              $0.00    $6,000.00
        Creditor's Name                            2009 Triumph
                                                   HIN: TRBK0258D909
                                                   As of the date you file, the claim is: Check all that
        230 Paradise Dr                            apply.
        Murray, KY 42071                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

Date debt was incurred          02/07/2023                  Last 4 digits of account number




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Debtor 1 Jody D Lashley                                                                                      Case number (if known)        23-10735
              First Name                  Middle Name                      Last Name


2.2
4       Tom Warner                                 Describe the property that secures the claim:                   $130,000.00                $175,000.00               $0.00
        Creditor's Name                            22800 Clifty Shores Rd Dawson
                                                   Springs, KY 42408 Christian County
                                                   Lakehouse on 2 lots near Pennyrile
                                                   Forest
                                                   As of the date you file, the claim is: Check all that
        230 Paradise Dr                            apply.
        Murray, KY 42071                                Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Contract for Deed
      community debt

Date debt was incurred                                      Last 4 digits of account number



  Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,065,450.68
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                $1,065,450.68

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?    2.22
           COVID EIDL Service Center
           14925 Kingsport Road                                                                      Last 4 digits of account number
           Fort Worth, TX 76155

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?    2.12
           CSC, as Representative
           PO Box 2576                                                                               Last 4 digits of account number
           Springfield, IL 62708

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?    2.14
           CSC, as Representative
           PO Box 2576                                                                               Last 4 digits of account number
           Springfield, IL 62708

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?    2.11
           CSC, as Representative
           PO Box 2576                                                                               Last 4 digits of account number
           Springfield, IL 62708

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?    2.1
           Thomas & Thomas Attorneys
           Attn: Ernest V. Thomas, III                                                               Last 4 digits of account number
           2323 Park Ave
           Cincinnati, OH 45206




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Debtor 1 Jody D Lashley                                                            Case number (if known)          23-10735
           First Name             Middle Name             Last Name


[ ]
        Name, Number, Street, City, State & Zip Code                         On which line in Part 1 did you enter the creditor?    2.22
        US Small Business Administration
        2 International Plaza Suite 500                                      Last 4 digits of account number
        Nashville, TN 37217




Official Form 106D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 11 of 11
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Fill in this information to identify your case:

Debtor 1                     Jody D Lashley
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                WESTERN DISTRICT OF KENTUCKY

Case number           23-10735
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Commonwealth of Kentucky                            Last 4 digits of account number                            Unknown            Unknown               Unknown
             Priority Creditor's Name
             Department of Revenue                               When was the debt incurred?
             501 High Street
             PO Box 991
             Frankfort, KY 40602
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes




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Debtor 1 Jody D Lashley                                                                                   Case number (if known)            23-10735

2.2        Internal Revenue Service                               Last 4 digits of account number                           Unknown                Unknown                 Unknown
           Priority Creditor's Name
           P.O. Box 7346                                          When was the debt incurred?
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes



Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        A to Z Tree Service                                       Last 4 digits of account number                                                                     Unknown
           Nonpriority Creditor's Name
           1779 E G Nash Rd                                          When was the debt incurred?
           Roundhill, KY 42275
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify




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Debtor 1 Jody D Lashley                                                                          Case number (if known)         23-10735

4.2      ABC Supply Co. Inc.                                 Last 4 digits of account number       6992                                               $200.43
         Nonpriority Creditor's Name
         PO Box 415636                                       When was the debt incurred?
         Boston, MA 02241-5636
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
             Check if this claim is for a community
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases on account for handyman jobs


4.3      All Shore Capital                                   Last 4 digits of account number                                                       $52,764.80
         Nonpriority Creditor's Name
         111 John Street                                     When was the debt incurred?           06/16/2022
         New York, NY 10005
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4      Amazon Prime Visa                                   Last 4 digits of account number       2620                                             $2,117.37
         Nonpriority Creditor's Name
         410 Terry Ave North                                 When was the debt incurred?
         Seattle, WA 98109-5210
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases




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4.5      Amazon Services LLC                                 Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         410 Terry Ave North                                 When was the debt incurred?
         Seattle, WA 98109-5210
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.6      Arba International LLC                              Last 4 digits of account number                                                        $3,144.48
         Nonpriority Creditor's Name
         2517 152nd Ave NE                                   When was the debt incurred?
         Redmond, WA 98052
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases on credit


4.7      Bee Spring Lumber & Supply LLC                      Last 4 digits of account number                                                       $10,966.47
         Nonpriority Creditor's Name
         10403 Highway 259 North                             When was the debt incurred?
         Bee Spring, KY 42207
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases on account




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4.8      Jeff Biggs                                          Last 4 digits of account number                                                        $8,109.00
         Nonpriority Creditor's Name
         2204 Woodbourne Ave.                                When was the debt incurred?
         Louisville, KY 40205
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.9      Bill Me Later, Inc                                  Last 4 digits of account number                                                       $87,635.36
         Nonpriority Creditor's Name
         as serving agent for WebBank                        When was the debt incurred?
         2211 North First Street
         San Jose, CA 95131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Business Loan Agreement


4.1
0        Dennis & Jill Broyles                               Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         2701 Alice Ave.                                     When was the debt incurred?
         Louisville, KY 40220
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.1
1        Capital Assist, LLC                                 Last 4 digits of account number                                                       $22,485.00
         Nonpriority Creditor's Name
         111 Great Knock Road                                When was the debt incurred?           05/24/2023
         Suite 300
         Great Neck, NY 11021
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Guaranty of Sale of Future Receipts
             Yes                                                Other. Specify   Agreement


4.1
2        Capital One                                         Last 4 digits of account number       2985                                             $2,211.31
         Nonpriority Creditor's Name
         PO Box 4069                                         When was the debt incurred?
         Carol Stream, IL 60197-4069
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.1
3        Capital One, N.A.                                   Last 4 digits of account number       0475                                             $3,142.44
         Nonpriority Creditor's Name
         PO Box 30285                                        When was the debt incurred?
         Salt Lake City, UT 84130-0285
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Cabela's credit card purchases




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4.1
4        Capytal.com                                         Last 4 digits of account number                                                       $72,500.00
         Nonpriority Creditor's Name
         c/o NewCo. Capital Group VI LLC                     When was the debt incurred?           09/19/2022
         90 Broad, Suite 903
         New York, NY 10004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revenue Purchase Agreement


4.1
5        Cassity Brazinski, LLC                              Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         9858 Burleigh Lane                                  When was the debt incurred?
         Union, KY 41091
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Legal fees incurred through third-party
             Yes                                                Other. Specify   agreement


4.1
6        CFG Merchant Solutions                              Last 4 digits of account number                                                       $62,000.00
         Nonpriority Creditor's Name
         180 Maiden Lane, Suite 1502                         When was the debt incurred?
         New York, NY 10038
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.1
7        Clover Capital                                      Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         5601 Corporate Way                                  When was the debt incurred?           08/16/2023
         Suite 320
         West Palm Beach, FL 33407
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Working capital loan


4.1
8        Concora Credit, Inc.                                Last 4 digits of account number       9725                                               $464.06
         Nonpriority Creditor's Name
         14600 NW Greenbriar Pkwy                            When was the debt incurred?
         Beaverton, OR 97006-5762
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Destiny Mastercard purchases


4.1
9        Brian Cook                                          Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         123 Pergola Pl                                      When was the debt incurred?
         Ormond Beach, FL 32174
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.2
0        Credit One                                          Last 4 digits of account number       4629                                             $1,302.48
         Nonpriority Creditor's Name
         PO Box 60500                                        When was the debt incurred?
         City of Industry, CA 91716-0500
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.2
1        Credit One Platinum                                 Last 4 digits of account number       3756                                             $1,950.91
         Nonpriority Creditor's Name
         PO Box 60500                                        When was the debt incurred?
         City of Industry, CA 91716-0500
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.2
2        Stacy Croxton                                       Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         610 Shawnee Rd                                      When was the debt incurred?
         Shelbyville, KY 40065
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.2
3        Dominick Dale, Esq.                                 Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         7002 Nansen St.                                     When was the debt incurred?
         Forest Hills, NY 11375-5856
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
                                                                Contingent
             Debtor 1 only
                                                                Unliquidated
             Debtor 2 only
             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                Student loans
             Check if this claim is for a community
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Legal fees


4.2
4        Dock-Tech, LLC                                      Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         102 Wall Street                                     When was the debt incurred?
         Suite C
         Cave City, KY 42127
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases of docks and materials


4.2
5        Troy Doush                                          Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         90 Trailwood Dr                                     When was the debt incurred?
         Clarkson, KY 42726
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.2
6        Everest Business Funding                            Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         2001 NW 107 Avenue                                  When was the debt incurred?           05/24/2023
         Miami, FL 33172
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revenue Based Finance Agreement


4.2
7        Farm Bureau Bank                                    Last 4 digits of account number       5058                                             $1,090.74
         Nonpriority Creditor's Name
         PO Box 33427                                        When was the debt incurred?
         San Antonio, TX 78265
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.2
8        Aaron Foulks                                        Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         395 Poplar Springs Rd                               When was the debt incurred?
         Brownsville, KY 42210
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.2
9        Future Designs Building Materials                   Last 4 digits of account number       1698                                               $995.73
         Nonpriority Creditor's Name
         421 Quarry Rd                                       When was the debt incurred?
         PO Box 87
         Leitchfield, KY 42755-0087
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases on account


4.3
0        Darrell L Green                                     Last 4 digits of account number                                                        $3,800.00
         Nonpriority Creditor's Name
         2547 Kensington Way                                 When was the debt incurred?
         Elizabethtown, KY 42701-6830
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Deposit for dock project


4.3
1        Grid Market, LLC                                    Last 4 digits of account number                                                       $37,000.00
         Nonpriority Creditor's Name
         dba Grid Funding                                    When was the debt incurred?           09/13/2023
         667 NE 105th St
         Miami, FL 33138
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Secured Merchant Agreement




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4.3
2        Hart County Building Supply                         Last 4 digits of account number       LASJOD                                          $37,807.23
         Nonpriority Creditor's Name
         10337 Cub Run HWY                                   When was the debt incurred?
         Munfordville, KY 42765
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases on account


4.3
3        Mike Higgins                                        Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         4003 Serviceberry Ct.                               When was the debt incurred?
         Louisville, KY 40241
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
4        Stuart & Cynthia Holder                             Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         9405 Stonelanding Pl                                When was the debt incurred?
         Louisville, KY 40272-7200
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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Debtor 1 Jody D Lashley                                                                          Case number (if known)         23-10735

4.3
5        Doris Jenkins                                       Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         102 Shady Lane                                      When was the debt incurred?
         Louisville, KY 40225-9000
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
6        Dixon & Shannon Jones                               Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         2120 Woodbourne Ave.                                When was the debt incurred?
         Louisville, KY 40205
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
7        Billy Kaufman                                       Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         1466 William Cemetery Road                          When was the debt incurred?
         Clarkson, KY 42726
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.3
8        Jeremy Kelly                                        Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         5802 Mt Pleasant Dr                                 When was the debt incurred?
         Prospect, KY 40059
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
9        Bridget Kuebet                                      Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         8907 Bergmont Dr.                                   When was the debt incurred?
         Prospect, KY 40059
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify



4.4      KY Office of Unemployment
0        Insurance                                           Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         Attn: Nicole Boaz                                   When was the debt incurred?
         PO Box 188
         Leitchfield, KY 42755
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.4
1        Jennifer Lanham                                     Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         677 Twin Oaks Drive                                 When was the debt incurred?
         Mammoth Cave, KY 42259
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
2        Liberty Federal Credit Union                        Last 4 digits of account number       2453                                               $361.26
         Nonpriority Creditor's Name
         4401 Theater Drive                                  When was the debt incurred?
         PO Box 5129
         Evansville, IN 47716-5129
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
3        Lindseys Auto Parts LLC                             Last 4 digits of account number       4870                                             $3,020.31
         Nonpriority Creditor's Name
         20 Caneyville Road                                  When was the debt incurred?
         Roundhill, KY 42275
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases on account




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4.4
4        Lowe's                                              Last 4 digits of account number       2000                                             $1,000.00
         Nonpriority Creditor's Name
         1000 Lowe's Boulevard                               When was the debt incurred?
         Mooresville, NC 28117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.4
5        MCA Resolve, LLC                                    Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         220 Congress Park Dr., Ste 215                      When was the debt incurred?
         Delray Beach, FL 33445
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
6        MicroAdvance Funding, LLC                           Last 4 digits of account number                                                       $13,800.00
         Nonpriority Creditor's Name
         100 South Juniper Street                            When was the debt incurred?           09/12/2023
         Third Floor
         Philadelphia, PA 19107
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchase and Sale of Future Receipts




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4.4
7        NewCo. Capital Group VI LLC                         Last 4 digits of account number                                                       $70,000.00
         Nonpriority Creditor's Name
         90 Broad, Suite 903                                 When was the debt incurred?           05/12/2022
         New York, NY 10004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revenue Purchase Agreement


4.4
8        PayPal Credit                                       Last 4 digits of account number       0777                                             $4,100.00
         Nonpriority Creditor's Name
         PO Box 71707                                        When was the debt incurred?
         Philadelphia, PA 19176-1707
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.4
9        Marilyn Rhoads                                      Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         2825 Timberline Dr                                  When was the debt incurred?
         Owensboro, KY 42303
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.5
0        Cory Rudolph                                        Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         1101 Meeting Street                                 When was the debt incurred?
         Prospect, KY 40059
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.5
1        Sam's Club                                          Last 4 digits of account number       4306                                                  $0.00
         Nonpriority Creditor's Name
         2101 SE Simple Savings Drive                        When was the debt incurred?
         Bentonville, AR 72716-0745
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.5
2        David Smith                                         Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         9613 Tamarisk Pkwy                                  When was the debt incurred?
         Louisville, KY 40223
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.5
3        Jeremy Smith                                        Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         1582 Pensacola Dr.                                  When was the debt incurred?
         Lillian, AL 36549
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.5
4        Flora Templeton Stuart                              Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         607 E. 10th Ave                                     When was the debt incurred?
         Bowling Green, KY 42101
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.5
5        Sun Valley Feed Mill                                Last 4 digits of account number       L029                                             $6,297.12
         Nonpriority Creditor's Name
         597 S. Main Street                                  When was the debt incurred?
         PO Box 301
         Brownsville, KY 42210
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases on account




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4.5
6        Synchrony Bank                                      Last 4 digits of account number       5712                                            $11,256.32
         Nonpriority Creditor's Name
         777 Long Ridge Rd                                   When was the debt incurred?
         Stamford, CT 06902
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Venmo credit card purchases


4.5
7        Theresa Stiles                                      Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         720 30th St.                                        When was the debt incurred?
         Peru, IL 61354
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.5
8        Tip Top Capital Inc                                 Last 4 digits of account number                                                        $2,000.00
         Nonpriority Creditor's Name
         40 Exchange Pl                                      When was the debt incurred?           08/10/2022
         New York, NY 10038
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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4.5
9        Tractor Supply Credit Plan                          Last 4 digits of account number       8068                                             $3,326.14
         Nonpriority Creditor's Name
         PO Box 6403                                         When was the debt incurred?
         Sioux Falls, SD 57117-6403
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.6
0        Travis Unruh                                        Last 4 digits of account number                                                        Unknown
         Nonpriority Creditor's Name
         4084 Paoli Pike                                     When was the debt incurred?
         Floyds Knobs, IN 47119
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.6
1        US Small Business Administration                    Last 4 digits of account number       7909                                             $7,192.85
         Nonpriority Creditor's Name
         2 International Plaza Suite 500                     When was the debt incurred?
         Nashville, TN 37217
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Covid-19 EIDL




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4.6
2         Billy Vincent                                            Last 4 digits of account number                                                               Unknown
          Nonpriority Creditor's Name
          2762 Cedar Grove Church Rd                               When was the debt incurred?
          Brownsville, KY 42210
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
COVID EIDL Service Center                                    Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
14925 Kingsport Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Fort Worth, TX 76155
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
DC Fund, LLC                                                 Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
DC Fund Suite 300                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Great Neck, NY 11021
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Elysia Lampert                                               Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Foley & Lardner LLP                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
321 N. Clark St.
Suite 3000
Chicago, IL 60654
                                                             Last 4 digits of account number

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Innvoative Marine Solutions, LLC                             Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
dba Innovative Marine Service                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
102 Wall St. Bldg A
Cave City, KY 42127
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                          0.00


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 23 of 24
           Case 23-10735-jal                      Doc 23           Filed 11/07/23              Entered 11/07/23 23:28:07                Page 59 of
                                                                               70
Debtor 1 Jody D Lashley                                                                              Case number (if known)    23-10735
                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                     0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              534,041.81

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $              534,041.81




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 24
               Case 23-10735-jal                    Doc 23            Filed 11/07/23       Entered 11/07/23 23:28:07                  Page 60 of
                                                                                  70
Fill in this information to identify your case:

Debtor 1                  Jody D Lashley
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               WESTERN DISTRICT OF KENTUCKY

Case number           23-10735
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
              Case 23-10735-jal                      Doc 23             Filed 11/07/23    Entered 11/07/23 23:28:07           Page 61 of
                                                                                    70
Fill in this information to identify your case:

Debtor 1                   Jody D Lashley
                           First Name                           Middle Name          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name          Last Name


United States Bankruptcy Court for the:                 WESTERN DISTRICT OF KENTUCKY

Case number           23-10735
(if known)                                                                                                                     Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:


   3.1         Innvoative Marine Solutions, LLC                                                        Schedule D, line
               dba Innovative Marine Service                                                           Schedule E/F, line    4.30
               102 Wall St. Bldg A
                                                                                                       Schedule G
               Cave City, KY 42127
                                                                                                     Darrell L Green




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
              Case 23-10735-jal              Doc 23       Filed 11/07/23          Entered 11/07/23 23:28:07                         Page 62 of
                                                                      70


Fill in this information to identify your case:

Debtor 1                      Jody D Lashley

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF KENTUCKY

Case number               23-10735                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Self-employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $       N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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                                                                    70

Debtor 1   Jody D Lashley                                                                        Case number (if known)    23-10735


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $               N/A
     5e.    Insurance                                                                     5e.        $              0.00   $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00   $               N/A
     5g.    Union dues                                                                    5g.        $              0.00   $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      29,728.41      $               N/A
     8b. Interest and dividends                                                           8b.        $           0.00      $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          29,728.41      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              29,728.41 + $          N/A = $          29,728.41
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         29,728.41
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
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                                                                         70


Fill in this information to identify your case:

Debtor 1                 Jody D Lashley                                                                    Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF KENTUCKY                                               MM / DD / YYYY

Case number           23-10735
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             12                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             3,587.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            500.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
        Case 23-10735-jal                   Doc 23          Filed 11/07/23               Entered 11/07/23 23:28:07                        Page 65 of
                                                                        70

Debtor 1     Jody D Lashley                                                                            Case number (if known)      23-10735

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                              1,256.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                235.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                648.00
      6d. Other. Specify: Trash                                                              6d. $                                                 26.00
7.    Food and housekeeping supplies                                                           7. $                                             1,500.00
8.    Childcare and children’s education costs                                                 8. $                                               500.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               300.00
10.   Personal care products and services                                                    10. $                                                300.00
11.   Medical and dental expenses                                                            11. $                                              2,815.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                              3,200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 30.00
14.   Charitable contributions and religious donations                                       14. $                                                 25.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   20.00
      15b. Health insurance                                                                15b. $                                                  460.00
      15c. Vehicle insurance                                                               15c. $                                                    0.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Income taxes                                                                  16. $                                                 375.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                               1,400.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                   0.00
      17c. Other. Specify: Solar panels                                                    17c. $                                                 464.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    1.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                  500.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Maintenance for vehicles and equipment                              21. +$                                                896.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      19,038.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      19,038.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              29,728.41
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             19,038.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             10,690.41

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
               Case 23-10735-jal                       Doc 23             Filed 11/07/23                    Entered 11/07/23 23:28:07                            Page 66 of
                                                                                      70
 Fill in this information to identify your case:

 Debtor 1                   Jody D Lashley
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF KENTUCKY

 Case number           23-10735
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             695,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             254,701.38

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             949,701.38

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,065,450.68

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             534,041.81


                                                                                                                                     Your total liabilities $             1,599,492.49


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              29,728.41

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              19,038.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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            Case 23-10735-jal                      Doc 23            Filed 11/07/23    Entered 11/07/23 23:28:07                  Page 67 of
                                                                                 70
 Debtor 1      Jody D Lashley                                                             Case number (if known) 23-10735

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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              Case 23-10735-jal              Doc 23       Filed 11/07/23        Entered 11/07/23 23:28:07                   Page 68 of
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Fill in this information to identify your case:

Debtor 1                    Jody D Lashley
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:       WESTERN DISTRICT OF KENTUCKY

Case number              23-10735
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Jody D Lashley                                                X
             Jody D Lashley                                                    Signature of Debtor 2
             Signature of Debtor 1

             Date       November 7, 2023                                       Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Western District of Kentucky
 In re       Jody D Lashley                                                                                   Case No.      23-10735
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept                                                  $
             Prior to the filing of this statement I have received                                        $
             Balance Due                                                                                  $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of                       $                  7,500.00
             The undersigned shall bill against the retainer at an hourly rate of                         $                     300.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with creditors; preparation and filing of motions and applications as needed.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor in any associated cases or proceedings pending or initiated before state courts
             other than for purposes of monitoring and enforcing automatic stay, federal courts not related to the bankruptcy
             case, or administrative tribunals.
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In re     Jody D Lashley                                                                            Case No.     23-10735
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   November 7, 2023                                                      /s/ Tyler R. Yeager
   Date                                                                  Tyler R. Yeager 92722
                                                                         Signature of Attorney
                                                                         Kaplan Johnson Abate & Bird LLP
                                                                         710 West Main Street
                                                                         Fourth Floor
                                                                         Louisville, KY 40202
                                                                         (502) 416-1630 Fax: (502) 540-8282
                                                                         tyeager@kaplanjohnsonlaw.com
                                                                         Name of law firm
